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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
------------------------------------------------------x
JOHN DOE,                                             |        Case No.
                                                      |
                       Plaintiff,                     |
        v.                                            |
                                                      |
UNIVERSITY OF MASSACHUSETTS |
AT AMHERST, KUMBLE R.                                 |
SUBBASWAMY, in his official capacity |
as Chancellor, WILLIAM D. BRADY,                      |
in his official capacity as Vice Chancellor, |
Chief Human Resources Officer &                       |
Interim Title IX Coordinator, and                     |        COMPLAINT
PATRICIA CARDOSO-ERASE, in her |
official capacity as Associate Dean of                |
Students for Conduct and Student                      |
Compliance,                                           |
                                                      |        JURY TRIAL DEMANDED
                       Defendant.                     |
------------------------------------------------------x

         PLAINTIFF JOHN DOE (“John Doe,” a pseudonym),1 by his attorneys

Nesenoff & Miltenberg LLP, as and for his Complaint against Defendants

UNIVERSITY            OF    MASSACHUSETTS                 AT    AMHERST,      KUMBLE   R.

SUBBASWAMY, in his official capacity as Chancellor, WILLIAM D. BRADY, in

his official capacity as Vice Chancellor, Chief Human Resources Officer & Interim

Title IX Coordinator, PATRICIA CARDOSO-ERASE, in her official capacity as



1   Plaintiff John Doe has filed herewith a motion to proceed by pseudonym.
                                                [1]
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Associate Dean of Students for Student Conduct and Compliance, respectfully

alleges as follows:

                      THE NATURE OF THIS ACTION

        1.   This constitutional due process and Title IX discrimination suit for

injunctive and monetary relief is brought on behalf of John Doe, who has been

suspended from Defendant University of Massachusetts at Amherst (“UMass

Amherst”) for alleged sexual misconduct that he did not commit after a process that

was not due process and that was not in compliance with the UMass Amherst Student

Code.

        2.   John Doe was a sophomore student at UMass Amherst in January 2020

when he was informed that he was the subject of a sexual misconduct disciplinary

proceeding with regard to an incident that allegedly occurred in October 2018 when

he was a freshman and about which the Complainant Jane Doe had filed with UMass

Amherst a complaint in November 2019 – more than one year after the alleged

incident, contrary to the Student Code requirement that such university complaints

be brought within one year of the alleged incident. In October 2018, Complainant

Jane Doe had snapchatted John Doe to come to his room and did go to his room,

where she engaged in sexual behavior that she claimed over a year later was non-

consensual due to her incapacitation from intoxication.




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      3.     After a perfunctory investigation, John Doe was notified, in March

2020, of a “hearing” to be held in the case before five unidentified individuals, but

it was not until April 22, 2020, that John Doe received an e-mail informing him the

hearing would be held on April 24, 2020, two days away. It was a “hearing” by

ambush. John Doe still had not been given access to the investigation filed and was

not allowed such access until April 23, 2020, one day before the hearing, to see the

investigation file, and even then, he was only allowed to see it for one hour and could

not make copies of any of the documents in the file. On April 24, 2020, the “hearing”

was held at which neither John Doe nor Complainant Jane Doe were asked any

questions. The hearing questions were to two non-party witnesses asking how drunk

Complainant Jane Doe was and what were Complainant Jane Doe’s intentions in

going to John Doe’s room the night in question.

      4.     On May 22, 2020, John Doe received the “outcome letter” from

Associate Dean of Students for Student Conduct and Compliance Patricia Cardoso-

Erase. John Doe was found responsible for sexual misconduct in violation of the

UMass Amherst Student Code. The outcome letter only stated that conclusion and

did not state any findings of fact or provide any explanation in support. John Doe

was sanctioned as follows: (1) immediate two-year suspension through May 31,

2022; (2) restriction from entering or residing in all University-approved housing;

(3) re-entry assessment meeting to determine whether or not the University will


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support the readmission application; (4) counseling with a licensed, off-campus

health professional; (5) no contact directive with the complainant Jane Doe through

May 31, 2025; and (6) follow-up meeting with a Student Conduct and Community

Standards Office staff member during the first semester reenrolled at the university.

      5.     John Doe filed with the university an appeal of the sanction, citing

numerous procedural errors. The appeal was denied. This action has therefore been

brought to rectify the constitutional due process violations and Title IX

discriminatory actions.

                                 THE PARTIES

      6.     John Doe is a natural person who is a resident of Long Island, New

York. Until the disciplinary proceeding brought as a result of complainant’s belated

complaint, John Doe had an unblemished disciplinary record at UMass Amherst.

      7.     UMass Amherst is a public research and land-grant university located

in Amherst, Massachusetts. It is the flagship campus of the University of

Massachusetts system. UMass Amherst has an annual enrollment of approximately

1,300 faculty members and more than 30,000 students. The university offers

academic degrees in 109 undergraduate, 77 master's and 48 doctoral

programs. According to its audited financial reports, UMass Amherst had in

$6,688,000 in federal appropriations in 2018 and $7,004,000 in federal




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appropriations in 2019 and $81,590,000 in non-operating federal grants in 2018 and

$84,454,000 in non-operating federal grants in 2019.

       8.     Kumble R. Subbaaswamy, in his official capacity, is the Chancellor of

UMass Amherst and has been July 1, 2012. His university address is Office of the

Chancellor, UMass Amherst, 374 Whitmore Building, 181 Presidents Drive,

Amherst, Massachusetts 01003.

       9.     William D. Brady, in his official capacity, is the Vice Chancellor as

Chief Human Resources Officer & Interim Title IX Coordinator at UMass Amherst.

His     university    address     is    Human      Resources,     330     Whitmore

Administration Building, 181 Presidents Drive Amherst, Massachusetts 01003.

       10.    Patricia Cardoso-Erase, in her official capacity, is the Associate Dean

of Students for Student Conduct and Compliance at UMass Amherst. Her university

address is Dean of Students Office, 227 Whitmore Administration Building, 181

Presidents Drive, Amherst, Massachusetts 01003.

                          JURISDICTION AND VENUE

       11.    This Court has federal question and jurisdiction pursuant to 28 U.S.C.

§ 1331 because the constitutional due process and Title IX claims herein arise under

federal law and has federal civil rights under 28 U.S.C. § 1343 because the

constitutional due process and Title IX claims herein arise under federal law civil

rights statutes.


                                         [5]
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       12.    This Court has personal jurisdiction over each of Defendants on the

grounds that each Defendant is conducting business within the State of

Massachusetts and is a resident of the State of Massachusetts and that Defendants’

actions that are the subject of this action took place in the District of Massachusetts.

       13.    Venue for this action properly lies in this district pursuant to 28 U.S.C.

§ 1391 because a substantial part of the events or omissions giving rise to the claim

occurred in this judicial district.

         ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

A.     Federal Statutes and Regulations Forbid Gender
       Discrimination And Retaliation and Require Prompt
       and Equitable Disciplinary Proceedings.___________

       14.    Title IX of the Education Amendments Act of 1972 provides in relevant

part that “[n]o person in the United States shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance.” 20

U.S.C. § 1681(a).

       15.     Title IX applies to all public and private educational institutions that

receive federal funds, including colleges and universities.

       16.     Umass Amherst is a recipient of federal funds and is therefore bound

by Title IX and its regulations.




                                           [6]
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      17.      As interpreted by federal courts, Title IX protects students attending

federally-funded educational institutions from discrimination based on gender. A

federally-funded educational institution violates Title IX if it subjects a male student

to adverse treatment because of his gender.

      18.      Complementing Title IX, the Jeanne Clery Disclosure of Campus

Security Policy and Campus Crime Statistics Act is a federal statute requiring

federally-funded educational institutions to maintain and disclose campus crime

statistics and security information. 20 U.S.C. § 1092(f).

      19.      Under the Clery Act, as amended in 2013, school disciplinary

procedures for alleged sexual misconduct must “provide a prompt, fair, and impartial

investigation and resolution.” 20 U.S.C. § 1092(f)(8)(B)(iv)(i)(aa).

      20.      The U.S. Department of Education’s regulations implementing Title IX

require federally-funded educational institutions to “adopt and publish grievance

procedures providing for prompt and equitable resolution of student…complaints

alleging any action which would be prohibited” by Title IX and implementing

federal regulations. 34 C.F.R. § 106.8(b).

      21.      Regulations implementing the Clery Act require that campus Title IX

proceedings:

              a.      “[i]nclude a prompt, fair, and impartial process from the
      initial investigation to the final result”
               b.     be conducted by trained officials

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            c.      “be completed within reasonably prompt timeframes
      designated by an institution’s policy, including a process that allows for
      the extension of timeframes for good cause with written notice to the
      accuser and the accused of the delay and the reason for the delay”

             d.      be conducted in a way that is “consistent with the
      institution’s policies and transparent to the accuser and accused”
            e.      include “timely notice of meetings at which the accuser or
      accused, or both, may be present”
            f.     give “timely and equal access to the accuser, the accused,
      and appropriate officials to any information that will be used during
      informal and formal disciplinary meetings and hearings”
             g.      be “[c]onducted by officials who do not have a conflict of
      interest or bias for or against the accuser or the accused”
             h.      include in “any initial, interim, and final decision by any
      official or entity authorized to resolve disciplinary matters” “the
      rationale for the result and the sanctions.”
34 C.F.R. § 668.46(k). What happened in this case was not transparent to the

accused.

B.    OCR’s 2001 Guidance Affirms the Requirement that
      Disciplinary Proceedings Be Prompt and Impartial._

      22.     The Department of Education’s Office for Civil Rights (“OCR”) is

the federal agency in charge of enforcing Title IX compliance.

      23.     In 2001, after a public notice and comment period, OCR issued a

document entitled “Revised Sexual Harassment Guidance: Harassment of

Students by School Employees, Other Students, or Third Parties” (“2001

Guidance”).


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      24.       OCR’s 2001 Guidance “identified a number of elements in evaluating

whether a school’s grievance procedures are prompt and equitable.” These elements

apply to private and public colleges and universities and include “[a]dequate,

reliable, and impartial investigation of complaints, including the opportunity to

present witnesses and other evidence,” and “[d]esignated and reasonably prompt

timeframes for the major stages of the complaint process.”

      25.        The 2001 Guidance further stated that “[a]ccording due process to

both parties involved, will lead to sound and supportable decisions” and that the

“due process” requirement applies to both public and private colleges and

universities.

C.    Starting in 2011, the Federal Government Pressures Educational
      Institutions to Provide More Protection to Students Alleging Sexual
      Assault, Focusing on Protection of Women._________________________

      26.       Starting in 2011, the federal government, including OCR, began to take

aggressive steps to combat what it viewed as an epidemic of sexual assault on

college campuses.

      27.       On April 4, 2011, the Office for Civil Rights (“OCR”) of the U.S.

Department of Education (“DOE”) sent a “Dear Colleague Letter” to colleges and

universities (hereinafter referred to as the “April 2011 Dear Colleague Letter”). The

“April 2011 Dear Colleague Letter,” while now revoked, was in effect when UMass

Amherst’s disciplinary procedures were put in place and the alleged sexual assault


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occurred in this case.    Before the 2011 Dear Colleague Letter, colleges and

universities generally did not use its disciplinary procedures to adjudicate sexual

misconduct cases and certainly not in the manner and frequency that they have since

the issuance of the April 2011 Dear Colleague Letter. The April 2011 Dear

Colleague Letter thus provides a necessary set of background facts to this action:

http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html.

      28.    Although the April 2011 Dear Colleague Letter marked a substantial

change in OCR’s position on how schools should handle disciplinary proceedings

under Title IX, OCR did not conduct the public notice and comment process required

for proposed regulations. See 5 U.S.C. § 553. The 2011 Dear Colleague Letter (p.

1) defined discrimination on the basis of sex to include sexual harassment of

students, which sexual harassment was defined to include acts of sexual violence.

The April 2011 Dear Colleague Letter provided that, in order to comply with Title

IX, colleges and universities must have prompt procedures to investigate and resolve

complaints of sexual misconduct.

      29.    The press release announcing the April 2011 Dear Colleague Letter

stated that it was “the first specifically advising schools, colleges and universities

that their responsibilities under Title IX include protecting students from sexual

violence” and that it included “new steps to help our nation’s schools, universities

and colleges end the cycle of sexual violence on campus.” The press release made


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clear the focus was on protecting women: it stated that despite past progress “the

threat of violence and abuse continues for a new generation of women;” it lauded

the “unprecedented coordination and cooperation across the federal government to

combat violence against women,” it stated that one in five women “will be a victim

of sexual assault during college” (a statistic that would later be thoroughly

discredited) and it highlighted “the Administration’s commitment to raising

awareness and promoting policies to prevent sexual violence against women of all

ages.”

         30.   The April 2011 Dear Colleague Letter itself explicitly focused on

protection of women and effectively equated “victims” and “complainants” in

sexual misconduct proceedings as women who must receive preferential treatment.

For instance, the April 2011 Dear Colleague Letter: (i) stated -- incorrectly -- that

“1 in 5 women are victims of completed or attempted sexual assault while in

college” (p. 2); (ii) warned that “the majority of campus sexual assaults occur when

women are incapacitated, primarily by alcohol” (p. 2); (iii) suggested educational

institutions seek grants from the U.S. Department of Justice’s Office on Violence

against Women, which require institutions “develop victim service programs and

campus policies that ensure victim safety, [and] offender accountability . . .” (p.

19); and (iv) warned education institutions that they must “never” view the “victim

at fault for sexual violence” if she has been using “alcohol or drugs” and asks


                                        [11]
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“schools to consider” providing students who violate alcohol or drug policies

with amnesty if they allege they were sexually assaulted while consuming alcohol

or drugs (p. 15).

     31.    The 1 in 5 “statistic” cited by the April 2011 Dear Colleague Letter

came from a disputed 2007 study, which was based on an overly broad definition of

sexual assault and which, according to the study authors, was not derived from a

nationally representative sample. Schow, “No, 1 in 5 Women Have Not Been Raped

on   College    Campuses,”     Washington     Examiner,    August     13,   2014,

http://www.washingtonexaminer.com/no-1-5-women-have-not-been-raped-on-

college-campuses/articles/2551980.

      32.   Bureau of Justice Statistics (DOJ) study, 1995-2013, published in

December 2014 found that college-age female students on campus were less likely

to be victims of sexual assault than non-students and the real number of college

women assault victims is .03 in 5; these statistics do not support the notion of a

“crisis” of violence against women. Rape and Sexual Assault Victimization among

College Age Females, 1995-2013 (Special Report), U.S. Department of Justice,

December 2014, http://www.bjs.gov.content/pub/pdf/ravcaf9513.pdf.

      33.   The April 2011 Dear Colleague Letter, in order to provide females what

was unjustified preferential treatment, imposed numerous mandates to make it more

difficult for males accused of sexual misconduct to defend themselves. The “April


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2011 Dear Colleague Letter” (pp. 10-11) required schools to adopt a relatively low

burden of proof -- the preponderance of the evidence (“more likely than not”) -- in

cases involving sexual misconduct, including sexual assault. Several colleges had

been using “clear and convincing,” and some, like Stanford University, applied the

criminal standard, “beyond a reasonable doubt.” The April 2011 Dear Colleague

Letter (p. 12) also strongly discouraged allowing cross-examination of complainants

because it “may be traumatic or intimidating” to the alleged victim. The “April 2011

Dear Colleague Letter” stated (p. 12) that schools should give both parties the right

to appeal a decision, which amounts to double jeopardy for an accused student. After

the April 2011 Dear Colleague Letter was published, schools changed their sexual

assault and sexual harassment policies and procedures. Additionally, the “April

2011 Dear Colleague Letter” stated (pp. 15-16) that schools should “minimize the

burden on the complainant,” transferring alleged perpetrators, if necessary, away

from shared courses or housing.

      34.    On April 29, 2014, the OCR published a document signed by then

Assistant Secretary of Education in charge of the OCR Catherine E. Lhamon

(“Secretary Lhamon”) and bearing the title “Questions and Answers on Title IX

and Sexual Violence.” (the “2014 Q&A”): http://www2.ed/gov./about/offices/

list/ocr/docs/qa-201404-title-ix.pdf. The 2014 Q&A continued OCR’s effort to

restrict students’ ability to defend themselves by reducing or eliminating the


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ability to expose credibility flaws in the allegations made against them. For

example, OCR’s 2014 Q&A states that schools: (i) “must not require a complainant

to be present” at sexual misconduct disciplinary hearings” (p. 30); (ii) may decide

to eliminate all opportunities for “cross-examination” (p. 31); and (iii) must avoid

“revictimization” by minimizing the number of times a victim is interviewed so

“complainants are not unnecessarily required to give multiple statements about a

traumatic event” (pp. 30, 38).

      35.    Neither OCR’s April 2014 Q&A nor the April 2011 Dear Colleague

Letter were subject to notice-and-comment rule-making, and both the OCR’s April

2014 Q&A and the April 2011 Dear Colleague Letter constituted substantive

decision-making.

      36.    In a letter dated December 30, 2014, the OCR informed the Harvard

Law School that the sexual misconduct policy it continued to use after issuance of

the April 2011 Dear Colleague Letter “improperly used a ‘clear and convincing’

evidence standard of proof in its Title IX grievance procedures, in violation of Title

IX.” (Emphasis in original.) The OCR letter stated that the higher clear and

convincing standard of proof was inconsistent with preponderance of the evidence

standard required by Title IX for investigating allegations of sexual harassment or

violence and directed the Harvard Law School, by January 15, 2015, to adopt

procedures “that comply with the applicable Title IX regulations and OCR policy,”


                                         [14]
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which procedures must include “[a]n explicit statement that the preponderance of

evidence standard will be used for investigating allegations of sexual harassment or

violence.”   https://www2.ed.gov/documents/press-releases/harvard-law-letter.pdf.

Other schools, including State University of New York-Buffalo and Princeton

University, were required by the OCR to use the preponderance of the evidence

standard in adjudicating sexual misconduct cases.

      37.    The April 2011 Dear Colleague Letter and April 2014 Q&A led

colleges and universities to devise victim centered procedures for adjudicating

sexual assault that are not neutral and impartial; and the reality is that males are

almost always the “accused” respondents and females are almost always the

“victim” complainants. Almost all complainants are females and almost all

respondents are males. A study by United Educators showed 99% of the accused

are male. “Confronting Campus Sexual Assault: An Examination of Higher

Education Claims,” https://web.archive.org/web/201701225139/https://www.ue.

org.UploadedFiles/Confronting%20Campus%20Sexual%20Assault.pdf.

      38.     While the April 2011 Dear Colleague Letter reaffirmed in principle

that both accusers and accused have the right to have a prompt and equitable

resolution, including the right to an adequate, reliable, and impartial investigation,

similar and timely access to any information that will be used at the hearing and

adequately trained fact-finders and decision makers, the April 2011 Dear Colleague


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Letter also, however, contained other provisions which expanded the nature and

scope of schools’ responsibility to address sexual misconduct, essentially

compelling them to choose between fundamental fairness for students and

continued federal funding. These provisions are not required by Title IX and are not

consistent with legal precedent and due process.

      39.    Among other things, the April 2011 Dear Colleague Letter defined

sexual harassment broadly as “unwelcome conduct of a sexual nature,” conflating

cases based on conduct with cases based on speech; stated that “mediation is not

appropriate even on a voluntary basis” in cases involving alleged sexual assault;

directed schools to ensure “steps taken to accord due process rights to the alleged

perpetrator do not restrict or unnecessarily delay the Title IX protections for the

complainant”; directed schools to take interim steps to protect complainants and

“minimize the burden on the complainant”; “strongly discourage[d]” schools from

allowing cross-examination of parties; and urged schools to focus on victim

advocacy.

      40.     Even though the April 2011 Dear Colleague Letter purported to be a

“guidance” document and did not go through rule-making procedures, OCR framed

many of its directives as mandatory. Moreover, the letter contained an explicit

threat to colleges and universities: “When a recipient does not come into

compliance voluntarily, OCR may initiate proceedings to withdraw Federal


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funding by the Department or refer the case to the U.S. Department of Justice for

litigation.”

       41.     The overriding purpose of the April 2011 Dear Colleague Letter was

“to make it easier for victims of sexual assault to make and prove their claims and

for the schools to adopt punitive measures in response,” and OCR “demand[ed] that

universities do so or face a loss of federal funding.” Doe v. Brandeis Univ., 177 F.

Supp. 3d 561, 572 (D. Mass. 2016). As the Brandeis court observed, while “[t]he

goal of reducing sexual assault, and providing appropriate discipline for offenders,

is certainly laudable,” the effect of the letter was “the elimination of basic procedural

protections—and the substantially increased risk that innocent students will be

punished.”

       42.     The April 2011 Dear Colleague Letter has been described as the “first

warning shot” that OCR intended to punish any school that failed to handle sexual

assault proceedings as OCR wanted.

        43.    After the 2011 Dear Colleague Letter, the federal government

continued to pressure colleges to deal aggressively with reported sexual assaults,

to adopt procedures that do not safeguard the rights of the accused, and to start

with the presumption that a complainant is telling the truth.

        44.    In 2014, OCR released additional guidance in which it reiterated

many of the directives set forth in the April 2011 Dear Colleague Letter, including

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the directive to “ensure that steps to accord any due process rights do not restrict

or unnecessarily delay the protections provided by Title IX to the complainant.”

In addition, OCR advised schools to give employees and students “trauma-

informed” training and said, “hearings should be conducted in a manner that does

not inflict additional trauma on the complainant.”

       45.    The same year, a White House Task Force was created, co-chaired by

the Office of the Vice President and the White House Council on Women and Girls.

The Task Force continued the government’s focus on protection of women, with a

mission “to tell sexual assault survivors that they are not alone” and “help schools

live up to their obligation to protect students from sexual violence.”

      46.    The Task Force’s first report opened with the claim that “[o]ne in five

women is sexually assaulted in college,” stated that the federal government was

ramping up Title IX enforcement efforts, and stressed again that schools found in

violation of Title IX risked losing federal funding.

      47.    The Task Force also pressed colleges and universities to provide

“trauma-informed” training for their officials, stating that “when survivors are

treated with care and wisdom, they start trusting the system, and the strength of their

accounts can better hold offenders accountable.”




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       48. The report stated that the Justice Department, through its Center for

Campus Public Safety and its Office on Violence Against Women, was developing

trauma-informed training programs.

       49.       Ultimately, the Justice Department funded a “Start by Believing”

campaign under which investigators are trained to investigate cases from an initial

presumption of guilt and write reports “that successfully support the prosecution of

sexual assault cases.” End Violence Against Women International, Effective Report

Writing:     Using     the     Language         of   Non-consensual     Sex,     at    5,

https://www.evawintl.org/library/DocumentLibraryHandler.ashx?id=43; see also

Campus Action Kit, Start by Believing, https://www.startbybelieving.org/wp-

content/uploads/2018/08/Campus-Action-Kit.pdf.

       50.    Among other things, “Start by Believing” training direct investigators

to “recreate the entire reality of the sexual assault from the perspective of the victim.”

       51.    “Start by Believing” training tells investigators: “By writing the report

to recreate the reality of the sexual assault and refute potential defense strategies,

investigators can greatly increase the likelihood that charges will be filed in the case

and it will result in a conviction. They may even help to make this process faster,

smoother, and easier for the victim than it would otherwise be. As one experienced

prosecutor summarized, ‘a well-written report can make a jury trial into a bench

trial and a bench trial into a guilty plea.’”


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      52.       The Obama Administration, through the DOE and OCR, treated the

April 2011 Dear Colleague Letter as binding on regulated parties for all practical

purposes and thus has pressured colleges and universities to aggressively pursue

investigations of sexual assaults on campuses. Then Secretary Lhamon, Assistant

Secretary of the Department of Education (“DOE”) in charge its Office for Civil

Rights (“OCR”), delivered what was treated as marching orders by colleges and

universities.

      53.       In February 2014, then Assistant Secretary Lhamon told college

officials attending a conference at the University of Virginia that schools need to

make “radical” change. According to the Chronicle of Higher Education, college

presidents said afterward that there were “crisp marching orders from Washington.”

Assistant Secretary Lhamon told college officials attending a conference that

existing practices for handling sexual misconduct complaints send a message “that

victimized students are worth less than the people who assault them;” that school

officials and she as “chief enforcer” needed to “radically change that message;” and

that “if you don’t want to do it together, I will do it to you.” “Colleges Are

Reminded of Federal Eye on Handling of Sexual-Assault Cases,” Chronicle of

Higher Education, February 11, 2014.

      54.       In June 2014, then Assistant Secretary Lhamon testified at a Senate

Hearing in that “some schools are still failing their students by responding

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inadequately to sexual assaults on campus. For those schools, my office and this

Administration have made it clear that the time for delay is over.” Assistant

Secretary Lhamon stated at the Senate Hearing in June 2014 that “we do” expect

institutions to comply with the April 2011 Dear Colleague Letter.            Assistant

Secretary Lhamon told the Senate Committee, “This Administration is committed to

using all its tools to ensure that all schools comply with Title IX . . .” She further

told the Committee: If OCR cannot secure voluntary compliance from the recipient,

OCR may initiate an administrative action to terminate and/or refuse to grant federal

funds or refer the case to the DOJ to file a lawsuit against the school. Assistant

Secretary Lhamon additionally stood behind the “April 2011 Dear Colleague

Letter.”

      55.    In July 2014, then Assistant Secretary Lhamon, speaking at a

conference on campus sexual assault held at Dartmouth College, stated that she was

prepared to cut off federal funding to schools that violate Title IX and that she would

strip federal funding from any college found to be non-compliant with the

requirements of the April 2011 Dear Colleague Letter. “Do not think it’s an empty

threat,” then Assistant Secretary Lhamon warned. She went on to describe that

enforcement mechanism as part of a set of “very, very effective tools,” adding “If a

school refuses to comply with Title IX in any respect, I will enforce.” Assistant

Secretary Lhamon was quoted: “It’s not surprising to me that we haven’t gone to the


                                         [21]
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last step. . . . It means that so far the process has been working.” Meredith Clark,

“Official to colleges: Fix sexual assault or lose funding,” July 15, 2014, available at:

http://www.msnbc.com/msnbc/campus-sexual-assaultconference-dartmouth-

college#51832.

      56.    Then Assistant Secretary Lhamon was quoted in the Los Angeles Times

stating, “We don’t treat rape and sexual assault as seriously as we should, . . . [There

is] a need to push the country forward.” Savage and Timothy M. Phelps, “How a

little-known education office has forced far-reaching changes to campus sex assault

investigations,” Los Angeles Times, August 17, 2015.

      57.    To support effectively making the “April 2011 Dear Colleague

Letter” binding, the OCR hired hundreds of additional investigators for Title IX

enforcement. The sharp increase in the number of investigations was accompanied

by increases in the scope of OCR’s investigations, in findings that schools had

violated Title IX, and in the imposition of punitive measures as a result. The

Federal Government investigated over 250 schools for possible Title IX violations,

including notable schools. According to the Chronicle of Higher Education, that

number eventually grew to over 500. The overwhelming majority of OCR’s

investigations and findings have involved alleged violations of the rights of

complaining students. Indeed, in 2016, OCR for the first time found Title IX

violations in response to a complaint by a disciplined student.


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      58.    Colleges and universities, including UMass Amherst, were fearful of

and concerned about being investigated or sanctioned by the DOE and/or of potential

Title IX lawsuits by the U.S. Department of Justice (“DOJ”). The White House

issued a report entitled “Not Alone” in April 2014, which included a warning that if

the OCR finds a Title IX violation, the “school risks losing federal funds,” that the

DOJ shares authority with OCR for enforcing Title IX and may initiate an

investigation or compliance review of schools and that if a voluntary resolution

cannot be reached, the DOJ may initiate litigation. In July 2016, Vice President

Biden suggested that schools that do not comply with administration guidelines

could be stripped of federal funding. “Obama, Biden Won’t Visit Universities That

Fall Short In Addressing Sexual Assault,” Huffington Post, July 4, 2016 (“The vice

president said he’d like to take away federal funding from those universities.”)

      59.    To revoke federal funds -- the ultimate penalty -- is a powerful tool

because educational institutions receive billions of dollars a year from the federal

government. Anne Neal of the American Council of Trustees and Alumni was

quoted as follows: “There is a certain hysteria in the air on this topic, . . . It's really

a surreal situation, I think.” She explained that “schools are running so scared of

violating the civil rights of alleged victims that they end up violating the due process

rights of defendants instead.” “How Campus Sexual Assaults Came To Command

New Attention,” NPR, August 12, 2014.


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      60.    The DOE and OCR created a significant amount of pressure on colleges

and universities to treat all those accused of sexual misconduct with a presumption

of guilt. “Presumed Guilty: College men accused of rape say the scales are tipped

against them,” Chronicle of Higher Education, September 1, 2014. In the same

article, the Chronicle noted that different standards were applied to men and women:

“Under current interpretations of colleges’ legal responsibilities, if a female student

alleges sexual assault by a male student after heavy drinking, he may be suspended

or expelled, even if she appeared to be a willing participant and never said no. That

is because in heterosexual cases, colleges typically see the male student as the one

physically able to initiate sex, and therefore responsible for gaining the woman’s

consent.” “Presumed Guilty: College men accused of rape say the scales are tipped

against them,” Chronicle of Higher Education, September 1, 2014.

      61.    Robert Dana, Dean of Students at the University of Maine, told NPR

that some rush to judgment is inevitable. “I expect that that can't help but be true,"

he says. "Colleges and universities are getting very jittery about it.” “Some Accused

Of Sexual Assault On Campus Say System Works Against Them,” NPR, September

3, 2014.

      62.    In response to pressure from OCR, DOJ, and the Obama White House,

educational institutions, such as UMass Amherst, limited procedural protections

afforded to male students, such as John Doe, in sexual misconduct cases.


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D.    The Department of Education Modifies Its Approach to Title
      IX Enforcement, Focusing on Fairness to All Parties._______

      64.    In September 2017, the Department of Education took first steps

toward restoring procedures that would provide basic fairness to both accusing and

accused students in Title IX proceedings.

      65. Recognizing the harmful results of the April 2011 Dear Colleague Letter,

the Secretary of Education Betsy DeVos observed that “[n]o school or university

should deprive any student of his or her ability to pursue their education because the

school fears shaming by—or loss of funding from—Washington,” that “no student

should be forced to sue their way to due process,” and that “[o]ne person denied due

process is one too many.”         On September 7, 2017, Department of Education

Secretary Betsy DeVos denounced the campus sexual misconduct proceedings as

denying     due   process    in     a   manner   that   is   wholly    un-American:

www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforce-

ment. Included in Secretary DeVos’s speech was the following:

      Washington’s push to require schools to establish these quasi-legal
      structures to address sexual misconduct comes up short for far too many
      students.
      ....
      Through intimidation and coercion, the failed system has clearly
      pushed schools to overreach. With the heavy hand of Washington
      tipping the balance of her scale, the sad reality is that Lady Justice is
      not blind on campuses today. This unraveling of justice is shameful, it
      is wholly un-American, and it is anathema to the system of self-


                                          [25]
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      governance to which our Founders pledged their lives over 240 years
      ago.
      ....

      Schools have been compelled by Washington to enforce ambiguous and
      incredibly broad definitions of assault and harassment.

      66.    Stating that “the era of ‘rule by letter’ is over” and “[t]here must be a

better way forward,” Secretary DeVos announced that the Department of Education

would “launch a transparent notice-and-comment process to incorporate the insights

of all parties” in an effort “to ensure that America’s schools employ clear, equitable,

just, and fair procedures that inspire trust and confidence.”

      67.     Then, on September 22, 2017, the Department of Education

announced that it was withdrawing the 2011 Dear Colleague Letter and the 2014

Questions & Answers on Title IX Sexual Violence, noting in part the criticism of

those documents for placing “improper pressure upon universities to adopt

procedures that do not afford fundamental fairness” and are “overwhelmingly

stacked against the accused.”

      68.    A Q&A on Campus Sexual Misconduct, which the Department adopted

the same day, reflects a return to the original principles of Title IX, the Clery Act,

and their implementing regulations, stating among other things that “the burden is

on the school—not on the parties—to gather sufficient evidence to reach a fair,

impartial determination as to whether sexual misconduct has occurred…;” that “[a]

person free of actual or reasonably perceived conflicts of interest and biases for or
                                          [26]
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against any party must lead the investigation on behalf of the school;” that

“[d]ecision-making techniques or approaches that apply sex stereotypes or

generalizations may violate Title IX and should be avoided so that the adjudication

proceeds objectively and impartially;” and that “[a]n equitable investigation of a

Title IX complaint requires a trained investigator to analyze and document the

available evidence to support reliable decisions, objectively evaluate the credibility

of parties and witnesses, synthesize all available evidence -- including both

inculpatory and exculpatory evidence -- and take into account the unique and

complex circumstances of each case.”

      69.     Despite a different direction announced by the current White House

Administration, colleges and universities have mostly continued with practices and

policies in place created to comply with the April 2011 Dear Colleague Letter

resulting in gender biased enforcement of Title IX. UMass Amherst is one such

university.

      70.     On May 6, 2020, U.S. Secretary of Education Betsy DeVos announced

new Title IX regulations. The U.S. Department of Education written announcement

stated:

      The Final Rule requires schools to investigate and adjudicate formal
      complaints of sexual harassment using a grievance process that
      incorporates due process principles, treats all parties fairly, and reaches
      reliable responsibility determinations. A school’s grievance process
      must:


                                         [27]
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· Give both parties written notice of the allegations, an equal
opportunity to select an advisor of the party’s choice (who may be, but
does not need to be, an attorney), and an equal opportunity to submit
and review evidence throughout the investigation;

· Use trained Title IX personnel to objectively evaluate all relevant
evidence without prejudgment of the facts at issue and free from
conflicts of interest or bias for or against either party;

· Protect parties’ privacy by requiring a party’s written consent before
using the party’s medical, psychological, or similar treatment records
during a grievance process;

· Obtain the parties’ voluntary, written consent before using any kind
of “informal resolution” process, such as mediation or restorative
justice, and not use an informal process where an employee allegedly
sexually harassed a student;

· Apply a presumption that the respondent is not responsible during the
grievance process (often called a “presumption of innocence”), so that
the school bears the burden of proof and the standard of evidence is
applied correctly;

· Use either the preponderance of the evidence standard or the clear and
convincing evidence standard (and use the same standard for formal
complaints against students as for formal complaints against
employees);

· Ensure the decision-maker is not the same person as the investigator
or the Title IX Coordinator (i.e., no “single investigator models”);

· For postsecondary institutions, hold a live hearing and allow cross-
examination by party advisors (never by the parties personally); K-12
schools do not need to hold a hearing, but parties may submit written
questions for the other parties and witnesses to answer;

· Protect all complainants from inappropriately being asked about prior
sexual history (“rape shield” protections);



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      · Send both parties a written determination regarding responsibility
      explaining how and why the decision-maker reached conclusions;

      · Effectively implement remedies for a complainant if a respondent is
      found responsible for sexual harassment;

      · Offer both parties an equal opportunity to appeal;

      · Protect any individual, including complainants, respondents, and
      witnesses, from retaliation for reporting sexual harassment or
      participating (or refusing to participate) in any Title IX grievance
      process;

      · Make all materials used to train Title IX personnel publicly available
      on the school’s website or, if the school does not maintain a website,
      make these materials available upon request for inspection by members
      of the public; and

      · Document and keep records of all sexual harassment reports and
      investigations.

      71.    The new Title IX regulations requires, among other things, a grievance

procedure that includes a live hearing at which the decision-maker must permit each

party’s advisor to ask the other party and any witnesses all relevant questions and

follow-up questions, including those questions challenging credibility. Such cross-

examination at the live hearing must be conducted directly, orally, and in real time

by the party’s advisor of choice and never by a party personally.          Before a

complainant, respondent, or witness answers a cross-examination or other question,

the decision-maker must first determine whether the question is relevant and explain

any decision to exclude a question as not relevant.



                                        [29]
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     72.   On July 17, 2020, Defendant William D. Brady sent the following e-

mail to the UMass Amherst campus community:

     On May 6, 2020, the U.S Department of Education Office of Civil
     Rights released updated federal regulations on how colleges and
     universities must respond to reports of sexual harassment under Title
     IX, a federal statute that prohibits discrimination on the basis of sex in
     federally funded education programs or activities. The new regulations
     require that all education institutions come into compliance by August
     14, 2020.

     The university is presently reviewing the regulations and, in
     consultation with the Office of General Counsel and the other campuses
     in the University of Massachusetts system, will be working diligently
     to consider their implication. We will keep the UMass community
     informed as interim policy and procedure revisions are implemented to
     meet the August deadline. For now, the University of Massachusetts
     Amherst Policy against Discrimination, Harassment, and Related
     Interpersonal Violence remains in place.

     We understand that these long-anticipated changes to Title IX have led
     to uncertainty and concern for how sexual harassment, sexual assault,
     and other forms of sexual violence will be addressed on campus. To be
     clear, UMass Amherst is committed to providing an inclusive and
     welcoming educational and working environment that is free from all
     forms of sexual harassment. Though there may be changes to how Title
     IX offenses are defined, our steadfast commitment to support victims
     is unchanged. As we work to implement the updated federal
     regulations, we will continue to address problematic behavior in a
     timely manner. All necessary adjustments to our policy will be made
     with thoughtfulness and care.

     More information about Title IX at UMass Amherst is available online,
     including what to do next if you experience gender discrimination,
     sexual harassment, or other sexual misconduct. Campus support offices
     continue to work tirelessly on behalf of the UMass Amherst
     community, and we encourage you to reach out to them for information
     or support.


                                        [30]
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E.    John Doe’s Disciplinary Case.

      73.   On or about October 20, 2018, John Doe was in his Knowlton dorm

room with friends. John Doe was then a freshman at UMass Amherst. Complainant

Jane Doe, who was also a freshman at UMass Amherst and whose dorm room was

in a different building, messaged John Doe on Snapchat that she wanted to come

over to John Doe’s room in the Knowlton dorm to hook up, and in the company of

a female friend who knew Complainant Jane Doe was going to John Doe’s room to

hook up, Complainant Jane Doe did in fact go to John Doe’s room, John Doe let her

in his room, and they proceeded to hook up and have sexual intercourse. It was not

the first time that Complainant Jane Doe had gone to John Doe’s room to have sexual

intercourse. She had been there three or four times previously and had engaged in

sexual intercourse and then stayed the night with John Doe. This time, however,

when Complainant Jane Doe asked to stay overnight, John Doe said no because his

parents were coming in the morning. Complainant Jane Doe left and texted another

of her friends who lived on the same floor as John Doe’s room and then walked back

to her dorm building with another friend.

      74.   A few days later, on or about October 22, 2018, Complainant Jane Doe

went to and knocked on John Doe’s dorm room door, and when John Doe opened

the door, she shouted accusations at him. Complainant Jane Doe had been drinking

on October 20, 2020, and did not remember what happened; she, however, assumed

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she had sexual intercourse with John Doe, which formed the basis for her

accusations. John Doe yelled back that he hadn’t raped her. A dorm Resident

Assistant heard John Doe. But nothing further came of the incident for over a year.

      75.    Over a year after the alleged incident, on November 3, 2019, when John

Doe was a sophomore at UMass Amherst, Complainant Jane Doe went to the

university to change her university housing to be in the Knowlton dorm and to have

John Doe moved elsewhere. Complainant Jane Doe was told she needed to file a

sexual misconduct complaint against John Doe in order to have John Doe moved.

As a result, Complainant Jane Doe filed her university complaint against John Doe

for sexual misconduct. John Doe was not informed, however, until January 2020

because Jonathan Connary, Assistant Dean of Students for Student Conduct, decided

not to interrupt John Doe’s studies for the Fall semester.

      76.    On January 7, 2020, Jonathan Connary, Assistant Dean of Students for

Student Conduct, sent an e-mail to John Doe saying that John Doe’s cell phone

message box was full and that he (Associate Dean Connary) had “some information”

that he needed to review with John Doe.

      77.    Also on January 7, 2020, John Doe received an e-mailed letter of that

date from Patricia Cardoso-Erase, the Associate Dean of Students for Student

Conduct and Compliance at UMass Amherst, informing John Doe that he was the

subject of a sexual misconduct disciplinary proceeding. The letter stated that the


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incident occurred at 1:00 AM on October 20, 2018, at the Knowlton dorm, when

John Doe engaged in non-consensual sexual acts with complainant Jane Doe in

violation of the UMass Amherst Student Code provisions prohibiting sexual

misconduct and sexual harassment. John Doe was also warned that the possible

sanctions included suspension and expulsion, given a no contact order with the

complainant Jane Doe and informed that the next step in the process was to have an

administrative meeting when he could give his side of the story.

      78.   On January 23, 2020, John Doe met with Assistant Dean Connary about

the alleged incident in October 2018, and at that time, John Doe was reassured that

nothing would come of the Complainant Jane Doe’s university complaint against

John Doe.

      79.   Also, on January 23, 2020, John Doe received an e-mail confirming that

John Doe’s Conduct Case Records Request was submitted to the UMass Amherst

Student Conduct and Community Standards Office.

      80. On March 6, 2020, Assistant Dean Connery e-mailed John Doe that he

(Assistant Dean Connary) had met with some witnesses and that he wished to

arrange another meeting with John Doe. John Doe called to set up that second

meeting, but no such meeting was ever scheduled by Assistant Dean Connery.

      81.    On March 10, 2020, Assistant Dean Jonathan Connary sent an e-mail

to John Doe saying that John Doe’s case has been referred to a University Hearing


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Board, which would consist of a panel of three to five faculty, staff and/or students

and which would determine whether there was a violation of the UMass Amherst

Student Code and that a staff member from the Student Conduct and Community

Standards Office would be on contact with John Doe about the scheduling of the

hearing.

      82.    On March 12, 2020, John Doe was e-mailed by the Dean of Students

Office that his Student Conduct History Report was available for John Doe’s review.

This was not, however, the investigation file in the disciplinary case triggered by

Complainant Jane Doe’s complaint.

      83.    On April 22, 2020, two days before the scheduled hearing, John Doe

received an e-mail from Corrina Marchand, Conduct and Compliance Manager in

the Student Conduct and Community Standards Office, informing John Doe that the

hearing in his disciplinary case would be held on April 24, 2020, which was in two

days, and that a pre-hearing meeting could be held on April 23, 2020. John Doe was

not informed who would be the members of the hearing panel and thus had no way

of checking to see if there were any conflicts of interest.

      84.    On April 23, 2020, Corrina Marchand, Conduct and Compliance

Manager in the Student Conduct and Community Standards Office, confirmed with

John Doe that the investigation file was available for John Doe’s review that day




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and informed him that John Doe would be given one hour access to the investigation

file and that John Doe was not allowed to make any copies of the file’s contents.

      85.     In the afternoon of April 23, 2020, John Doe reviewed the investigation

file for one hour, doing the best he could to understand the information in the file,

which consisted of fifty pages of single-spaced information. Only at this pre-hearing

meeting was John Doe advised by anyone at UMass Amherst that at the hearing, he

could have an advisor with him, but at that point, it was as a practical matter too late

to retain an advisor. John Doe was not advised that he could request an adjournment

so that he could retain an advisor. John Doe was not advised that he could make an

opening statement. John Doe was not provided with instructions on how and when

to submit a final written argument to present to the hearing panel and was not

instructed on preparing statements for the hearing, such as opening, closing and

impact statements.

      86.    On April 24, 2020, the “hearing” was held by Zoom conference. No

transcript or recording was made of the “hearing.”            Neither John Doe nor

Complainant Jane Doe were asked any questions by the hearing panel.                The

questions posed by the hearing panel were to two non-party witnesses asking how

drunk Complainant Jane Doe was and what were Complainant Jane Doe’s intentions

in going to John Doe’s room the night in question. Assistant Dean Connary told the

hearing panel that John Doe was not informed until January 2020 about Complainant


                                          [35]
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Jane Doe’s complaint in November 2019 because he (Assistant Dean Connary)

decided not to interrupt John Doe’s studies for the Fall semester and that he

(Assistant Dean Connary) informed John Doe thereafter. Complainant Jane Doe did

not provide any medical or physical evidence to back up her claim of non-consensual

sex. Complainant Jane Doe had not filed any report with the police ever and did not

with the university for over a year. Complainant Jane Doe nevertheless claimed the

October 20, 2018 incident ruined her life, which was not true; Complainant Jane

Doe’s boyfriend had broken up with her in the Spring 2020 and she had left school

then.

        87.   On May 22, 2020, John Doe received the “outcome letter” from

Associate Dean of Students for Student Conduct and Compliance Patricia Cardoso-

Erase. John Doe was found responsible for sexual misconduct in violation of the

UMass Amherst Student Code. The outcome letter only stated that conclusion and

did not state any findings of fact or provide any explanation in support. John Doe

was sanctioned as follows: (1) immediate two-year suspension through May 31,

2022; (2) restriction from entering or residing in all University-approved housing;

(3) re-entry assessment meeting to determine whether or not the University will

support the readmission application; (4) counseling with a licensed, off-campus

health professional; (5) no contact directive with the complainant Jane Doe through

May 31, 2025; and (6) follow-up meeting with a Student Conduct and Community


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Standards Office staff member during the first semester reenrolled at the university.

The “outcome letter” concluded that John Doe had a right to appeal the decision

based on procedural error affecting the outcome of the case or new information and

that John Doe had five days to file such as appeal.

      88.    John Doe timely filed with the university an appeal of the sanction,

citing numerous procedural errors, including the following:

             (a)   One cited error was that UMass Amherst brought a proceeding

based on an untimely complaint. The UMass Amherst Student Code provided that

“a complaint alleging student misconduct must be filed no later than one year after

discovery of the alleged violation and the identity of the student(s) involved by the

victim.” UMass Amherst failed to follow its own policy by accepting a complaint

on November 3, 2019 for an alleged incident that had occurred more than year prior

on October 20, 2018.

             (b)   A second cited error was that the burden of proof was effectively

placed upon John Doe to prove his innocence, rather than UMass Amherst and

Complainant Jane Doe having the burden of proof to show that sexual misconduct

had occurred.

             (c)   A third cited error was that UMass Amherst procedures afforded

many supportive measures for female complainants who are treated preferentially

under the procedures, but there was no statement in the procedures about providing


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male respondent with “referral to resource offices.” UMass Amherst offered

referral information for a Civilian Advocate only for “victims/survivors” and

offered arrangements to meet with the advocate at locations “including University

Offices.” UMass Amherst’s list of “My Title IX Rights” was “adapted from the

Coalition to End Rape Culture Survivor Bill of Rights,” which specified no rights

for the accused. The list of services in the January 7, 2020 charging letter received

by John Doe included the “Center for Women and Community” but no indication

of what services they provided to male respondents.

            (d)    A fourth cited error was that John Doe was prejudiced by the

delay with respect to Complainant Jane Doe’s complaint, which was filed November

3, 2019 but about which John Doe was not told until January 7, 2020 concerning an

alleged incident occurring October 20, 2018. John Doe asserted that he was not

provided “with an equal opportunity to prepare a defense, speak with witnesses or

to gather and preserve evidence such as the Complainant [Jane Doe] had for more

than one year.”

            (e)    A fifth cited error was that John Doe was prejudiced by the

failure to follow procedure as to the investigation. UMass Amherst procedures state

that the “interviews (in order) Complainant, Respondent, and witnesses”; however,

John Doe was not provided with the witnesses’ statements for a second interview in

order to respond to any information in those statements.


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             (f)    A sixth cited error was that John Doe was prejudiced by the

failure of UMass Amherst to identify any of the members of the hearing board until

the “hearing” started, which did not give John Doe the opportunity to determine if

there was a conflict of interest and to request an alternate if necessary.

             (g)    A seventh cited error was that John Doe was only informed that

he could have an adviser present at the “hearing” the afternoon before the “hearing,”

which was insufficient time for John Doe to retain a person to act as his adviser.

             (h)    An eighth cited error was that John Doe was prejudiced by not

being provided with instructions on how and when to submit a final written argument

to present to the hearing panel and was not instructed on preparing statements for

the hearing, such as opening, closing and impact statements.

             (i)    A ninth cited error was that John Doe was prejudiced by not

being given access to the hearing documents until one day before the “hearing” and

was only allowed to review the documents for one hour without making copies of

any file documents. The file consisted of fifty pages of single-spaced interviews and

evidence, and given the duress that John Doe was under, it was practically

impossible to analyze and copy important information to present to the hearing

board.




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       89.    John Doe’s appeal was denied. This lawsuit has therefore been brought

to rectify the constitutional due process violations and Title IX discriminatory

actions.

                          FIRST CAUSE OF ACTION
       (42 U.S.C. § 1983: Denial of Fourteenth Amendment Due Process)

       90. John Doe repeats and re-alleges each and every allegation hereinabove as

if fully set forth herein.

       91. The Fourteenth Amendment to the United States Constitution provides

that no state shall “deprive any person of life, liberty, or property, without due

process of law.” In this case, Defendants are state actors subject to the Fourteenth

Amendment.

       92. Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

       Every person who, under color of any statute, ordinance, regulation,
       custom, or usage, of any State or Territory or the District of Columbia,
       subjects, or causes to be subjected, any citizen of the United States or
       other person within the jurisdiction thereof to the deprivation of any
       rights, privileges, or immunities secured by the Constitution and laws,
       shall be liable to the party injured in an action at law, suit in equity, or
       other proper proceeding for redress. . . .

       93. A person has a protected liberty interest in his good name, reputation,

honor, and integrity, of which he cannot be deprived without due process.

Deprivation of the protected liberty interest, identified by the “stigma-plus” test,

occurs where, as here, the State inflicted reputational damage accompanied by an

alteration in legal status that deprived the person of aright he previously held. John
                                           [40]
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Doe satisfies this test because Defendants inflicted reputational harm by wrongfully

branding him as a sex offender and Defendants changed John Doe’s legal status by

suspending him, subjecting him to readmission requirements to a State school.

      94. A person has a protected property interest in pursuing his education, as

well as in future educational and employment opportunities and occupational liberty,

of which he cannot be deprived without due process.

      95. John Doe’s constitutionally protected property interest in his continued

enrollment at UMass Amherst and to be free from arbitrary suspension and dismissal

arises from the policies, courses of conduct, practices and understandings established

by UMass Amherst. John Doe’s constitutionally protected property interest further

arises from the express and implied contractual relationship between UMass

Amherst and John Doe. UMass Amherst created a contract when John Doe accepted

an offer of admission to UMass Amherst and paid the tuition and fees. A person

who has been admitted to a university, and who has paid tuition to that university,

has a protected property interest in continuing his education at that university until

he has completed his course of study.

      96. UMass Amherst Policies did not provide a fair and impartial disciplinary

process in which it is the responsibility of the University to show that a violation has

occurred before any sanctions are imposed. UMass Amherst deprived John Doe of

his federally protected property interest in the UMass Amherst contract with John


                                          [41]
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Doe when it failed to conduct a fair and impartial process, including not giving

meaningful access to John Doe to the investigation file and not holding a real hearing

before an impartial and objective decision-maker. Instead, John Doe was subjected

to hearing by ambush without the assistance of an advisor.

      97. Cross-examination has been recognized as the greatest legal engine ever

invented for discovery of the truth and has been ruled to be required for basic due

process in campus disciplinary cases. Yet, in a case where UMass Amherst relied

upon a credibility assessment, there was no hearing and thus no cross-examination

was permitted and no sworn testimony was taken in violation of due process of law.

      98. UMass Amherst failed to conduct an adequate, reliable, and impartial

investigation when it conducted its investigation of Jane Doe’s allegations and

subsequent adjudication in a manner that was biased against John Doe. Further, John

Doe was severely prejudiced in being able to defend himself because he was denied

access to the investigation file until one day before the “hearing” and even then was

only allowed one hour of access without being able to make copies of the file’s

contents.

      99. UMass Amherst improperly placed the burden of proof on John Doe to

prove that Jane Doe’s accusations were not true and when it failed to utilize the

preponderance of the evidence standard in fact in reaching its outcome.




                                         [42]
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      100. If John Doe as a UMass Amherst student faced disciplinary action that

included the possibility of suspension or dismissal if found responsible for alleged

sexual misconduct, then the Due Process provisions of the Fourteenth Amendment

to the United States Constitution applied to the disciplinary process that UMass

Amherst used.

      101. UMass Amherst, as a land grant university established by the State of

Massachusetts, and the individual Defendants, as agents of UMass Amherst, have a

duty to provide its students equal protection and due process of law by and through

any and all policies and procedures set forth by the University.

      102. John Doe had obeyed all institutional rules when he was wrongly

suspended from UMass Amherst.

      103. John Doe had a constitutionally protected property interest in continuing

his education at UMass Amherst and thus was entitled to process commensurate with

the seriousness of the allegations and the potential discipline, sanctions, and

repercussions he was facing. The allegations in this case resulted in a sanction that

will have lifelong ramifications for John Doe.

      104. Defendants deprived John Doe of his liberty and property interests

without affording him basic due process, including, but not limited to, his right to a

fair adjudication free of bias, his right to be informed of the evidence against him,

his right to be innocent until shown to be responsible and not to be subjected to the


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burden of proving innocence, his right to be heard by an impartial factfinder, to

question his accuser, challenge the credibility of other adverse witnesses and present

evidence and witnesses in support of his defense.

      105. Defendants, as well as other agents, representatives, and employees of

UMass Amherst, were acting under color of state law when they showed intentional,

outrageous, and reckless disregard for John Doe’s constitutional rights.

      106. Defendants all agreed to, approved, and ratified this unconstitutional

conduct.

      107. As a result of these due process violations, John Doe continues to suffer

ongoing harm, including damages to his reputation and other non-economic and

economic damages. In particular, suspension from UMass Amherst denied him the

benefits of education at his chosen school and also damaged John Doe’s academic

and professional reputation.

      108. Kumble R. Subbaaswamy as the Chancellor of UMass Amherst is

ultimately responsible for the university’s compliance with a federal court injunction

for performance and operations as an educational institution of higher learning,

which includes compliance with federal and state laws and court decrees specific to

UMass Amherst, including any expungement of a disciplinary record.

      109. William D. Brady as the Vice Chancellor as Chief Human Resources

Officer & Interim Title IX Coordinator at UMass Amherst is responsible in his


                                         [44]
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official capacity for the overall operation of the disciplinary investigation and

adjudication process at UMass Amherst, and thus would be tasked to have UMass

Amherst comply with any federal court injunction concerning ongoing due process

violations in a disciplinary case, including any expungement of a disciplinary record.

      110. Patricia Cardoso-Erase as the Associate Dean of Students for Student

Conduct and Compliance at UMass Amherst is responsible in her official capacity

for the conduct of disciplinary investigations and meetings with the disciplinary

respondents and is responsible in her official capacity for making the decision in a

disciplinary case.

      111. The constitutional due process violations here in John Doe’s disciplinary

case occurred because Kumble R. Subbaaswamy, William D. Brady and Patricia

Cardoso-Erase, when engaged in constitutional due process violations, effectively

acted outside their respective authority. For a federal court injunction ordering

prospective relief in a case involving a sexual misconduct disciplinary proceeding at

UMass Amherst, joinder of Kumble R. Subbaaswamy, William D. Brady and

Patricia Cardoso-Erase in their respective official capacities is necessary so that the

injunction is enforced.

      112. As a result of the foregoing, John Doe has standing to seek and is entitled

to an injunction vacating John Doe’s disciplinary findings and decision, granting

expungement of John Doe’s transcript of the disciplinary record, ordering the ending


                                         [45]
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of the suspension subject to any readmission requirements and enjoining future

violations of due process in the process of investigating and adjudicating the sexual

misconduct complaint that is the subject of this action.

       113. As a direct and proximate result of the above conduct, John Doe

sustained tremendous damages, including, without limitation, emotional distress,

loss of educational, military career opportunities, economic injuries and other direct

and consequential damages. John Doe’s interests in the results of the disciplinary

process are significant.

       114. As a result of the foregoing, John Doe is entitled to damages in an amount

to be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs

and disbursements and to an injunction enjoining violations of the Fourteenth

Amendment in the process of investigating and adjudicating sexual misconduct

complaints.

                            SECOND CAUSE OF ACTION:
                   (Erroneous Outcome, Selective Enforcement and
              Violation of Title IX of the Education Amendments of 1972)

       115. John Doe repeats and re-alleges each and every allegation hereinabove

as if fully set forth herein.

       116. Title IX of the Education Amendments of 1972 provides, in relevant

part, that:

       No person in the United States shall, on the basis of sex, be excluded
       from participation in, be denied the benefits of, or be subjected to
                                         [46]
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      discrimination under any education program or activity receiving
      Federal financial assistance.

      117. Title IX of the Education Amendments of 1972 applies to an entire

school or institution if any part of that school receives federal funds; hence, athletic

programs are subject to Title IX of the Education Amendments of 1972 even though

there is very little direct federal funding of school sports.

      118. UMass Amherst has received and continues to receive nearly $90

million or more in annual federal funding.

      119. Title IX may be violated by a school’s failure to prevent or remedy

sexual harassment or sexual assault, Davis v. Monroe Bd. of Education, 526 U.S.

629 (1999), or by the imposition of university discipline where gender is a

motivating factor in the decision to discipline, Yusuf v. Vassar College, 35 F.3d 709,

715 (2d Cir. 1994). In either case, the statute is enforceable through an implied

private right of action.

      120. Challenges       to   university      disciplinary   proceedings    for   sex

discrimination generally fall in two categories: (1) “erroneous outcome” cases, in

which the claim is that plaintiff was innocent and wrongly found to have committed

an offense and gender bias was a motivating factor behind the erroneous findings;

and (2) “selective enforcement” cases, in which the claim asserts that, regardless of

the student’s guilt or innocence, the severity of the penalty and/or decision to initiate


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the proceeding was affected by the student’s gender. Yusuf v. Vassar College, 35

F.3d 709, 715 (2d Cir. 1994).

      121. An “erroneous outcome” occurred in this case because John Doe was

innocent and wrongly found responsible for non-consensual sexual behavior and the

totality of the circumstances establish gender bias was a motivating factor.

“Selective enforcement” occurred in this case because John Doe was subject to a

two-year suspension without sufficient justification given that both John Doe and

Jane Doe were intoxicated on the night in question, yet it was John Doe who was

found responsible for sexual misconduct; this “unduly severe penalty” was affected

by John Doe’s male gender.

      122. Gender bias was a motivating factor behind the two-year suspension

imposed upon John Doe based on the allegations of the female Complainant Jane

Doe concerning an alleged incident in October 2018 about which Complainant Jane

Doe did not complain with the police ever and did not complain with the university

for over a year. Gender bias is implicit in the cavalier treatment of John Doe in terms

of not providing him meaningful access to the investigation report and not timely

advising him about having an advisor. Gender bias is implicit in the imposition of a

two-year suspension based on the female’s allegations that were treated as

presumptively true -- despite the lack of a timely complaint, despite the lack of

medical and physoical evidence. UMass Amherst has maintained a female victim


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oriented disciplinary process for sexual misconduct that has been anti-male in

operation because almost all complainants are female and almost all respondents are

male and because UMass Amherst has provided ample resources to female

complainants but none to male respondents.

      123. As a result of the foregoing, John Doe has standing to seek and is

entitled to an injunction vacating John Doe’s disciplinary findings and decisions,

expungement of John Doe’s transcript of the disciplinary record, and enjoining

future violations of Title IX in the process of investigating and adjudicating the

sexual misconduct complaint that is the subject of this action against John Doe.

      124. As a direct and proximate result of the above conduct, John Doe

sustained tremendous damages, including, without limitation, emotional distress,

loss of educational opportunities, economic injuries and other direct and

consequential damages.

      125. As a result of the foregoing, John Doe has standing to seek and is

entitled to an injunction vacating John Doe’s disciplinary findings and decisions,

expungement of John Doe’s transcript of the disciplinary record, and enjoining

future violations of Title IX in the process of investigating and adjudicating the

sexual misconduct complaint that is the subject of this action against John Doe.




                                        [49]
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                                  PRAYER FOR RELIEF

      WHEREFORE, for the foregoing reasons, John Doe demands judgment as

follows:

            (i)          on the first cause of action for denial of constitutional due

      process in violation of 42 U.S.C. § 1983, a judgment awarding John Doe an

      injunction against the individual Defendants vacating John Doe’s disciplinary

      findings and decision, expungement of John Doe’s transcript of the

      disciplinary record, and enjoining future violations of Title IX in the process

      of investigating and adjudicating the sexual misconduct complaint that is the

      subject of this action against John Doe; and

            (ii)         on the second cause of action for violation of Title IX of the

      Education Amendments of 1972, a judgment against UMass Amherst

      awarding John Doe:

                   (a)      an injunction against UMass Amherst vacating John Doe’s
                            disciplinary findings and decision, an injunction vacating
                            John Doe’s disciplinary findings and decisions, expungement
                            of John Doe’s transcript of the disciplinary record, and
                            enjoining future violations of Title IX in the process of
                            investigating and adjudicating the sexual misconduct
                            complaint that is the subject of this action against John Doe;

                   (b)      damages against UMass Amherst in an amount to be
                            determined at trial, including, without limitation, damages to
                            physical well-being, emotional and psychological damages,
                            damages to reputation, past and future economic losses, loss
                            of educational and athletic opportunities, and loss of future


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                         career prospects, plus prejudgment interest, attorneys’ fees,
                         expenses, costs and disbursements, and

             (iii)   awarding John Doe such other and further relief as the Court

      deems just, equitable and proper.

                                 JURY DEMAND

      Plaintiff John Doe demands a trial by jury of all issues presented herein that

are triable by a jury.

Dated: New York, New York
       August 21, 2020                   Respectfully submitted,
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